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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MINNESOTA


MELINDA and MARK LOE,
et al.,

       Plaintiffs,                      Civil No. 0:23-cv-01527-NFB-JFD

  v.                                        [PROPOSED] ORDER
                                          GRANTING PLAINTIFFS’
WILLIE JETT, et al.,                      MOTION FOR PARTIAL
                                           SUMMARY JUDGMENT
       Defendants.
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  This matter is before the Court on Plaintiffs’ Motion for Partial
Summary Judgment regarding Counts I-VI of Plaintiffs’ verified

complaint and all counts of Defendant Minnesota Department of
Education’s counterclaims. Having reviewed the papers filed both in
support of and in opposition to this motion, the Court hereby GRANTS
Plaintiffs’ motion for partial summary judgment. It is hereby
ORDERED:
1. The Court DECLARES that the May 24, 2023, amendment to Minn.
  Stat. § 124D.09, Subd. 3(a) violates the Free Exercise Clause of the
  First Amendment to the U.S. Constitution both on its face and as
  applied to Plaintiffs.
2. Defendants are permanently ENJOINED from enforcing any part of
  the May 24, 2023, amendment to Minn. Stat. § 124D.09, Subd. 3(a)
  and from otherwise denying PSEO program eligibility to Plaintiffs
  Crown College and University of Northwestern – St. Paul, as well as
  other similar institutions.
3. Defendants’ counterclaims against Plaintiffs Crown College and
  University of Northwestern – St. Paul are hereby DENIED.
4. Plaintiffs’ motion for attorneys’ fees is due 60 days after the
  expiration of time for appeal from final judgment or after all appeals

  have been exhausted and the final mandate has issued.
  IT IS SO ORDERED.


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Dated: __________________        _________________________________
                                 The Honorable Nancy E. Brasel
                                 United States District Judge




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